Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 1 of 12
        Protected - Subject to Further Protective Review

                                                                  Page 1
                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

        ---------------------------------§
        IN RE: XARELTO (RIVAROXABAN)     § MDL NO. 2592
        PRODUCTS LIABILITY LITIGATION    §
                                         § SECTION L
                                         §
        THIS DOCUMENT RELATES TO:        § MAG. JUDGE NORTH
        DORA MINGO, NO. 15-03469         §
                                         §
        ________________________________ §



                                     - - -

                          THURSDAY, FEBRUARY 9, 2017

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                      PROTECTED - SUBJECT TO FURTHER

                              PROTECTIVE REVIEW

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                  Videotaped deposition of BRIAN E. PERSING, M.D.,
             held at the Hilton Garden Inn, 14108 Airport Way,
             Gulfport, Mississippi, commencing at 8:48 a.m.,
             on the above date, before Kelly J. Lawton,
             Registered Professional Reporter, Licensed Court
             Reporter, and Certified Court Reporter.

                                     - - -

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Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 2 of 12
            Protected - Subject to Further Protective Review
                                                      Page 2                                                          Page 4
   1   APPEARANCES:                                             1                  ---
   2    LEVIN PAPANTONIO THOMAS MITCHELL RAFFERTY &
        PROCTOR, P.A.                                           2        THE VIDEOGRAPHER: We are now on the record.
   3    BY: NED McWILLIAMS, ESQUIRE
        316 South Baylen Street, Suite 600                      3     My name is Melissa Bardwell, videographer, here
   4    Pensacola, Florida 32502                                4     for Golkow Technologies. Date today is
        (850) 435-7000
   5    nmcwilliams@levinlaw.com                                5     February 9th, 2017. The time is approximately
        Representing Plaintiffs
   6                                                            6     8:48 a.m. This videotaped deposition is being
   7     DOUGLAS & LONDON, P.C.                                 7     held in Gulfport, Mississippi, in reference to
         BY: LARA J. SAY, ESQUIRE
   8     59 Maiden Lane, 6th Floor                              8     the Xarelto (Rivaroxaban) Products Liability
         New York, New York 10038
   9     (212) 566-7500                                         9     Litigation. The deponent today is Brian Persing,
         lsay@douglasandlondon.com
  10     Representing Plaintiffs
                                                               10     M.D.
  11                                                           11        Would counsel present please introduce
         MITCHELL WILLIAMS
  12     BY: MARY CATHERINE WAY, ESQUIRE                       12     themselves and state your affiliations for the
         425 West Capitol Avenue, Suite 1800
  13     Little Rock, Arkansas 72201                           13     record.
         (501) 666-8890                                        14        MR. McWILLIAMS: Ned McWilliams for the
  14     mway@mwlaw.com
         Representing Defendant Bayer                          15     plaintiffs.
  15
  16     SCHWABE, WILLIAMSON & WYATT                           16        MS. SAY: Lara Say for the plaintiffs.
         BY: MARGARET HOFFMANN, ESQUIRE
  17     1211 Southwest 5th Avenue, Suite 1900
                                                               17        MS. WAY: Mary Catherine Way on behalf of
         Portland, Oregon 97204                                18     Bayer.
  18     mhoffmann@schwabe.com
         Representing Defendant Janssen                        19        MS. NOONAN: Claire Noonan on behalf of the
  19
  20     IRWIN, FRITCHIE, URQUHART & MOORE, LLC                20     Janssen defendants.
         BY: CLAIRE A. NOONAN, ESQUIRE                         21        MS. HOFFMANN: Margaret Hoffmann on behalf of
  21     400 Poydras Street, Suite 2700
         New Orleans, Louisiana 70130                          22     the Janssen defendants.
  22     (504) 310-2100
         cnoonan@irwinllc.com                                  23        THE VIDEOGRAPHER: The court reporter today
  23     Representing Defendant Janssen                        24     is Kelly Lawton, who she will now swear in the
  24
       ALSO PRESENT:                                           25     witness.
  25    Melissa Bardwell, Videographer


                                                      Page 3                                                          Page 5
   1                  ---                                       1         THE COURT REPORTER: Doctor, would you please
                     INDEX                                      2     raise your right hand.
   2                  ---                                       3         Do you swear or affirm the testimony you're
   3    Testimony of: BRIAN E. PERSING, M.D.
                                                                4     about to give will be the truth, the whole truth,
   4       DIRECT EXAMINATION BY MR. McWILLIAMS......... 5
                                                                5     and nothing but the truth?
   5
   6
                                                                6         THE WITNESS: I do.
   7                 EXHIBITS                                   7         THE COURT REPORTER: Thank you.
   8                                                            8         BRIAN E. PERSING, M.D., called as a witness
   9    PERSING                           PAGE                  9   by the Plaintiff, having been first duly sworn,
  10    Exhibit 1 Brian Persing, M.D. Expert Report 8          10   testified as follows:
  11    Exhibit 2 Figures for Dora Mingo's Hemoglobin 8        11               DIRECT EXAMINATION
                 Values                                        12   BY MR. McWILLIAMS:
  12
                                                               13     Q. Good morning, Doctor.
        Exhibit 3   Xarelto Label                30
                                                               14     A. Good morning.
  13
  14                                                           15     Q. Would you please state your full name for the
  15                                                           16   record?
  16                                                           17     A. Brian Edward Persing.
  17                                                           18     Q. And you're a doctor; is that correct?
  18                                                           19     A. Correct.
  19                                                           20     Q. You're a medical doctor?
  20
                                                               21     A. Correct.
  21
                                                               22     Q. And you're a hematologist; is that correct?
  22
  23
                                                               23     A. I am.
  24                                                           24     Q. Are you a board-certified in hematology?
  25                                                           25     A. I am.


                                                                                            2 (Pages 2 to 5)
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Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 3 of 12
         Protected - Subject to Further Protective Review
                                                Page 6                                                       Page 8
   1      Q. Are you board-certified in any other               1      as Exhibit 1, please.
   2   specialities?                                            2         (Persing Exhibit 1 was marked for
   3      A. Oncology.                                          3   identification.)
   4      Q. Any others?                                        4   BY MR. McWILLIAMS:
   5      A. I'm -- I've been board-certified in internal       5      Q. And if you would just hang on to the version
   6   medicine. I'm no longer maintaining that                 6   that has the sticker --
   7   certification.                                           7      A. Sure.
   8      Q. Okay. And how long have you maintained your        8      Q. -- on it.
   9   board-certification in hematology?                       9      A. Okay.
  10      A. Since I completed my fellowship training,         10      Q. And if you would be so kind as to pass these
  11   about seven and a half years now.                       11   to counsel --
  12      Q. Okay. And just generally speaking, what           12      A. Sure.
  13   is -- what is hematology? How would you describe        13      Q. -- so they can have another copy.
  14   that to a -- a layperson?                               14          And can you please just identify this for us,
  15      A. Hematology is the study and the treatment of      15   just for the benefit of the record --
  16   blood-related disorders. Those include benign           16      A. Sure.
  17   things, considered nonmalignant such as clotting and    17      Q. -- just confirm, in fact, that this is a
  18   hemostasis, but also include the treatment of           18   complete and accurate copy of your expert report in
  19   lymphomas and leukemias.                                19   the Mingo case?
  20      Q. Okay. Have you ever before been asked to          20      A. This -- yes, this looks like my complete
  21   determine what the cause of whether or not a person's   21   report for the Mingo case.
  22   gastrointestinal bleed was the result of their          22          MR. McWILLIAMS: And let's go ahead and mark
  23   exposure to an oral anticoagulant?                      23      this as Exhibit 2.
  24      A. I've never been asked formally to determine       24         (Persing Exhibit 2 was marked for
  25   whether or not they were associated. I've been          25   identification.)


                                                Page 7                                                       Page 9
   1   involved in their care from a clinical standpoint,       1   BY MR. McWILLIAMS:
   2   which obviously would include assessing whether or       2     Q. And I'll just -- for the record, this is --
   3   not a bleed was related to an anticoagulant that they    3     A. You want me keep that? Yeah.
   4   were on.                                                 4     Q. Okay. If you could --
   5      Q. Okay. What were you asked to do in this            5     A. You can keep that because that's -- yeah. So
   6   matter, in this case?                                    6   that's -- that's -- that's just the -- the figures
   7      A. I was asked to review Mrs. Mingo's history         7   with actual data, as opposed to the figure in the
   8   and essentially help educate Mrs. Hoffmann and -- and    8   report that had no data points on it -- or it had the
   9   their group as to -- from a hematologic standpoint,      9   data points but not the numbers for the data points.
  10   kind of what took place.                                10     Q. Okay. And I should have done this at the
  11      Q. Okay. And have you ever served as an expert       11   beginning --
  12   witness before?                                         12     A. Sorry.
  13      A. I have not.                                       13     Q. It's important for the benefit of the court
  14      Q. Have you ever had your deposition taken           14   reporter, it's best for you to let me finish my
  15   before?                                                 15   question before you begin your answer. And I'll do
  16      A. I have not.                                       16   my best to let you finish your answer before I start
  17      Q. Okay. Are you offering any expert opinions        17   my next question; okay?
  18   in this case?                                           18     A. Yes, sir.
  19      A. I -- I have. I've rendered a medical              19     Q. And it's also good for you to always
  20   statement in this opinion -- regarding my medical       20   verbalize your responses. We can't -- the shrug of
  21   opinions, yes.                                          21   the shoulders or -- it's not a normal conversation,
  22      Q. And are all of your opinions contained in         22   so try to give affirmative or definitive answers
  23   your export report?                                     23   verbally to the court reporter; okay?
  24      A. They are.                                         24     A. I will do that.
  25         MR. McWILLIAMS: Let's go ahead and mark that      25     Q. Thank you.


                                                                                     3 (Pages 6 to 9)
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Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 4 of 12
         Protected - Subject to Further Protective Review
                                              Page 10                                                      Page 12
   1          Now, Exhibit 2, I understood this is -- this      1      don't know the answer to that.
   2    is what should have been contained in your original     2   BY MR. McWILLIAMS:
   3    report; is that correct?                                3      Q. Well, and I agree, no one really truly knows,
   4       A. Correct.                                          4   but we can deal in possibilities. Just using your,
   5       Q. Okay. And Exhibit 2 essentially shows             5   you know, your medical judgment, your training,
   6    Ms. Mingo's hemoglobin values over time; is that        6   experience, and education, and given what --
   7    correct?                                                7   everything you know about Ms. Mingo, her -- her
   8       A. That's correct.                                   8   history, her -- how she did on aspirin, Lovenox,
   9       Q. And if I'm reading this chart correctly, her      9   warfarin, relative to Xarelto, would you agree with
  10    hemoglobin values were at their lowest point           10   me that it's more likely than not that her use of
  11    immediately after her exposure to Xarelto; is that     11   Xarelto exacerbated her gastrointestinal bleed?
  12    correct?                                               12          MS. HOFFMANN: Objection; form.
  13       A. That's correct.                                  13          THE WITNESS: I believe that her gastric
  14       Q. Okay. And do you -- so is it fair to say         14      ulcer was the cause of her bleed. She had
  15    that this drop in hemoglobin values is, in fact,       15      co-administration of both aspirin and Xarelto at
  16    associated with her exposure to Xarelto?               16      the time. And I think that a combination of all
  17       A. It was --                                        17      of those three led to her bleed. I think
  18          MS. WAY: Object to form.                         18      isolating one of those as the cause is extremely
  19          THE WITNESS: It was associated with her          19      difficult to do.
  20       gastric bleed.                                      20   BY MR. McWILLIAMS:
  21    BY MR. McWILLIAMS:                                     21      Q. Well, you would agree with me she had a
  22       Q. Okay. And do you believe her gastric bleed       22   history of being on aspirin prior to being on Xarelto
  23    was associated with her use of Xarelto?                23   that did not result in a clinically significant
  24       A. I think that the Xarelto added to the rate of    24   gastrointestinal bleed; correct?
  25    her gastric bleed, yes.                                25      A. So she was previously on aspirin at


                                              Page 11                                                      Page 13
   1       Q. Okay. And by "the rate," you mean the -- the      1   81 milligrams. She was continued at 325 milligrams,
   2   magnitude and the -- the -- the severity?                2   which is a higher dose, than she had previously been
   3       A. I think that as with any anticoagulation,         3   on.
   4   it's going to impair the body's ability to slow          4         In addition to that, within the -- within the
   5   bleeding, so it affects hemostasis and would increase    5   package insert of Xarelto, it actually comments that
   6   the rate of bleed.                                       6   there is a potentiation of bleeding when aspirin is
   7          MS. HOFFMANN: Counsel, before we go too much      7   used concomitantly with Xarelto.
   8       further, can we agree that an objection by one       8         So while the aspirin may have carried with it
   9       lawyer is an objection for both the defendants?      9   a small risk and the Xarelto a risk as well, the two
  10          MR. McWILLIAMS: Yes, ma'am.                      10   together would carry with them higher than an
  11          MS. HOFFMANN: Thank you.                         11   additive risk for both of those.
  12   BY MR. McWILLIAMS:                                      12      Q. So you believe there's a synergistic risk of
  13       Q. In your report, you use the word "potentiate"    13   bleeding when you combine aspirin with Xarelto?
  14   to describe the affect of Xarelto on Ms. Mingo's        14      A. I think that's --
  15   bleed; is that correct?                                 15         MS. HOFFMANN: Objection to form.
  16       A. Correct.                                         16         THE WITNESS: I think that's alluded to
  17       Q. And that means to exacerbate or make worse;      17      within the package insert as increased risk of
  18   is that correct?                                        18      bleeding associated with those two being given --
  19       A. I think to make -- to make clinically            19   BY MR. McWILLIAMS:
  20   significant.                                            20      Q. So -- so you believe --
  21       Q. Okay. So would it be fair to say that            21      A. -- together.
  22   Mrs. Mingo's GI bleed would not have been clinically    22      Q. Excuse me.
  23   significant but for her use of Xarelto?                 23         So you believe the Xarelto package insert
  24          MS. WAY: Object to form.                         24   states in sum or substance that there's a synergistic
  25          THE WITNESS: I don't -- sorry -- I --- I         25   effect between aspirin and Xarelto use with respect


                                                                                4 (Pages 10 to 13)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 5 of 12
        Protected - Subject to Further Protective Review
                                              Page 14                                                     Page 16
   1   to the risk of major bleeding?                           1      Q. Well, have you looked into that?
   2         MS. HOFFMANN: Objection; form.                     2      A. No.
   3         THE WITNESS: It doesn't state that there's a       3         MS. HOFFMANN: Objection to form.
   4      synergistic effect. It states that there is           4         MR. McWILLIAMS: What's the form objection?
   5      increased effect of bleeding when the two are         5         MS. HOFFMANN: You say "looked into that," I
   6      administered together.                                6      don't know what you're referring to.
   7   BY MR. McWILLIAMS:                                       7   BY MR. McWILLIAMS:
   8      Q. Is it your opinion that there's a synergistic      8      Q. Have you looked into the clinical trial data
   9   effect?                                                  9   to see if there actually was an -- an increased risk
  10      A. I believe there is a synergistic effect.          10   of major bleeding in patients that are
  11      Q. And what's the basis for that opinion?            11   co-administered aspirin?
  12      A. So Xarelto works by inhibiting Factor Xa;         12      A. That, I mean, that's within the package
  13   aspirin works by inhibiting platelet function.          13   insert.
  14         When we start to bleed, the initial response      14      Q. I appreciate that.
  15   of the body is to form what we call a platelet plug,    15      A. Correct.
  16   okay. That is followed up by the coagulation cascade    16      Q. I'm asking if you looked into any of the
  17   that allows that clot to form.                          17   clinical trial data.
  18         And so when we interfere with both aspects of     18      A. The clinical trial data, to my knowledge,
  19   our ability to achieve hemostasis, we end up with a     19   didn't have the subset analysis looking at that.
  20   higher risk of bleeding.                                20      Q. Okay. Would you agree that Ms. Mingo's
  21      Q. And I understand you mechanistically that         21   prothrombin time results were prolonged at the time
  22   that probably is 100 percent correct.                   22   she was on Xarelto?
  23         But have you seen any actual clinical trial       23      A. She had three separate prothrombin times:
  24   data that supports this opinion?                        24   One on arrival to the hospital; another one after
  25      A. No.                                               25   receiving ten milligrams of Coumadin, Lovenox, and


                                              Page 15                                                     Page 17
   1      Q. Okay. Would -- if -- if, in fact, there was        1   Xarelto all within a 48-hour -- 36-hour period; and
   2   a synergistic effect between aspirin and Xarelto use     2   then she had another one on presentation to the
   3   with respect to the risk of major bleeding, would you    3   hospital at the time that she had her bleed.
   4   expect to see that -- those results in the clinical      4          There was elevation of her PT at the second
   5   trials --                                                5   and third times.
   6          MS. HOFFMANN: Objection.                          6      Q. Okay. And what is your explanation for those
   7   BY MR. McWILLIAMS:                                       7   prolongation of PT?
   8      Q. For example, the patients who are on               8      A. It's --
   9   co-administered aspirin and Xarelto, that they would     9          MS. HOFFMANN: Objection to form.
  10   have a higher rate of bleeding than the parents that    10          THE WITNESS: It's seen that with
  11   were not also on aspirin?                               11      administration of Coumadin, we can see elevation
  12          MS. HOFFMANN: Objection to form.                 12      in PT INR. And so that could be a result of the
  13          THE WITNESS: Can you restate it? Sorry.          13      first, okay.
  14          I'm not used to . . .                            14          We also know that there are certain assays
  15          So people that are -- people -- would we see     15      where we check PT, where Xarelto can alter that
  16      something within the clinical trial showing --       16      value. And that could be an explanation for both
  17      I'm sorry. I got sidetracked.                        17      the second and the third values.
  18   BY MR. McWILLIAMS:                                      18          And she had evidence of bleeding, which can
  19      Q. If -- if your opinion is correct, would you       19      consume coagulation proteins. And you can also
  20   expect to see that pan out in the clinical trial        20      see elevation in a PT at those times where we
  21   results?                                                21      have consumption of the protein, so there's not
  22      A. So for DVT and pulmonary embolism,                22      enough protein to -- to clot.
  23   co-administration of aspirin was not common. So I       23   BY MR. McWILLIAMS:
  24   think to try to isolate a subset, there would be very   24      Q. So you would agree that her exposure to
  25   difficult to do.                                        25   Xarelto was a contributing factor to the -- to her


                                                                                5 (Pages 14 to 17)
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Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 6 of 12
        Protected - Subject to Further Protective Review
                                              Page 18                                                      Page 20
   1   prolongation of her prothrombin time?                    1      A. So the administration of a dose of Coumadin,
   2      A. I think that's a possibility. I think there        2   the half-life is -- is fairly long, okay. And if
   3   are other possibilities as well. I think, once           3   somebody is deficient in vitamin K, there's a
   4   again, to exclude that from the Coumadin for the         4   possibility that a dose -- a single dose, especially
   5   second value and her bleed with the third value would    5   a 10-milligram dose, which is a much higher dose than
   6   be difficult to do.                                      6   what we typically would recommend starting with,
   7      Q. Well, what was the latency? What was the           7   could potentiate that earlier than we might otherwise
   8   duration of time between her ingestion of the one        8   see.
   9   10-milligram pill of Coumadin and her subsequent         9      Q. Okay.
  10   prothrombin time use?                                   10      A. Would that be -- would that be normal to see
  11      A. It was approximately two days.                    11   that? No. But it's also not normal to load people
  12      Q. Okay. And do you believe that one                 12   with a 10-milligram dose of Coumadin.
  13   10-milligram pill of warfarin is capable of             13      Q. But are you aware of any evidence indicating
  14   prolonging PT to the degree observed in Mrs. Mingo?     14   Ms. Mingo was vitamin K deficient prior to her
  15      A. Normally, we wouldn't see a prolongation with     15   initiation of warfarin?
  16   one dose of Coumadin at ten milligrams. If somebody     16      A. I don't know the answer to that. Nobody --
  17   is vitamin K deficient to begin with, they've been on   17   that isn't something that we would know. There's no
  18   antibiotics, there's always a possibility that they     18   lab test that we can check that would say she is or
  19   have a very rapid response. But that wouldn't be        19   isn't vitamin K deficient.
  20   common for one dose to cause that.                      20      Q. Okay. But you agree that Xarelto does
  21      Q. All right. So is it --                            21   prolong PT; correct?
  22      A. But ten milligrams is a loading dose.             22      A. There -- there are instances in assays that
  23          I'm sorry.                                       23   can be associated with Xarelto prolonging PTTs --
  24      Q. Right.                                            24   PTs, sorry.
  25          So if it's -- if it's atypical to see            25      Q. Okay. And do you know what PT reagent was


                                              Page 19                                                      Page 21
   1   prolongation to the degree observed with Ms. Mingo       1   used by the hospital that treated Ms. Mingo?
   2   given just one 10-milligram loading dose of warfarin,    2      A. I don't.
   3   can we conclude that it's more likely than not that      3      Q. Okay. Do you know what reagent is used for
   4   the prolongation was -- can be attributable to her       4   the PT at the hospitals where you practice?
   5   use of Xarelto?                                          5      A. I don't.
   6          MS. HOFFMANN: Objection to form.                  6      Q. Okay. So I just want to make sure I
   7          MS. WAY: Objection to form.                       7   understand the sequence of events right. Ms. Mingo
   8          THE WITNESS: I still think that's difficult       8   has a history of being on aspirin without any other
   9      to say in that she received -- she still received     9   oral anticoagulants and no history of -- of
  10      Coumadin prior to that.                              10   clinically significant bleeding requiring
  11   BY MR. McWILLIAMS:                                      11   hospitalization and transfusion; correct?
  12      Q. Okay. But --                                      12      A. Correct.
  13      A. To reach INR.                                     13      Q. And similarly, she has a history of being on
  14      Q. But you just testified a moment ago that it's     14   aspirin and Lovenox, and she -- that did not require
  15   unlikely, it would be atypical for it to prolong it     15   any type of hospitalization or transfusion for a GI
  16   to that degree; correct?                                16   bleed; correct?
  17          MS. WAY: Object to the form.                     17         MS. HOFFMANN: Objection.
  18   BY MR. McWILLIAMS:                                      18         THE WITNESS: She was on aspirin and she was
  19      Q. Actually, I think you said you -- it's            19      on prophylactic doses of Lovenox.
  20   unlikely to see any prolongation with a one             20   BY MR. McWILLIAMS:
  21   10-milligram loading dose; correct?                     21      Q. And -- and -- but the important part, but it
  22          MS. WAY: Mischaracterizes his testimony.         22   did not require a hospitalization or transfusion;
  23          THE WITNESS: So the -- I'm sorry.                23   correct?
  24   BY MR. McWILLIAMS:                                      24         MS. HOFFMANN: Objection to form.
  25      Q. Did I hear you correctly?                         25         THE WITNESS: Well, I think that the -- the


                                                                                6 (Pages 18 to 21)
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Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 7 of 12
        Protected - Subject to Further Protective Review
                                              Page 22                                                      Page 24
   1      dosing for Lovenox that she received was              1   history of a gastrointestinal bleed requiring
   2      40 milligrams, I believe, daily. That typically       2   hospitalization, was exposed to Xarelto, and within
   3      is not considered a therapeutic dose to treat a       3   two weeks required hospitalization and transfusion;
   4      DVT.                                                  4   removed Xarelto --
   5          And so I -- the -- the -- she didn't require      5      A. Right.
   6      hospitalization while she was on prophylactic         6      Q. -- and she no longer had any clinically
   7      doses of Lovenox with aspirin.                        7   significant bleeding.
   8    BY MR. McWILLIAMS:                                      8      A. Well --
   9      Q. And she didn't require hospitalization for         9      Q. Correct?
  10    gastrointestinal bleeding at any time point on any     10          MS. HOFFMANN: Let him finish.
  11    dose of Lovenox is my point. And is that correct?      11          MS. WAY: Object to the form.
  12          MS. WAY: Object to the form.                     12          THE WITNESS: Sorry.
  13          THE WITNESS: She -- she did not require          13   BY MR. McWILLIAMS:
  14      hospitalization while she was on aspirin and         14      Q. Is that correct?
  15      Lovenox.                                             15      A. So she had aspirin and Lovenox to start with,
  16    BY MR. McWILLIAMS:                                     16   did not bleed. She had Xarelto added, and then she
  17      Q. Okay. And the only -- okay.                       17   bled. The difference is we -- first of all, if we're
  18          So are you familiar with the concept of          18   going to use the challenge, de-challenge, and
  19    challenge, de-challenge, re-challenge --               19   challenge mechanism that you're describing, we never
  20      A. No.                                               20   re-challenged, meaning that this carries no clinical
  21      Q. -- when you're assessing adverse events           21   weight at all.
  22    associated with drugs?                                 22          The second thing is she had a gastric ulcer
  23      A. Oh. I'm -- that's not the way I would             23   that's now been corrected. So if we re-challenged
  24    describe it. But I -- I normally think if somebody     24   her, we've now changed the mechanism after challenge,
  25    has a toxicity from a medicine, then you stop that     25   de-challenge, and re-challenge once again.


                                              Page 23                                                      Page 25
   1   medicine, and then if the issue goes away, then you      1      Q. The underlying etiology?
   2   re-challenge with that medication.                       2      A. Right. The underlying etiology, correct.
   3         Is that what you're asking?                        3      Q. Okay.
   4      Q. Yeah.                                              4      A. The gastric ulcer.
   5      A. Okay.                                              5      Q. Are you offering any opinions on the
   6      Q. That's what -- well, you can do challenges,        6   suitability of prothrombin time with respect to
   7   which mean you expose someone to the medicine, and if    7   assessing the degree of anticoagulation in a Xarelto
   8   it causes the adverse event --                           8   treated patient?
   9      A. Okay.                                              9      A. I would not.
  10      Q. -- you de-challenge it, which means you           10      Q. Okay. You're not offering any opinions on
  11   remove the medicine, and the adverse effect goes        11   that, one way or the other?
  12   away. And then the last final step is you               12      A. I mean, as far as offering opinions, I --
  13   re-challenge, you re-expose them, and the -- and the    13   there's no opinion to offer on that.
  14   adverse effect comes back.                              14      Q. Okay.
  15         MS. HOFFMANN: There's no question. That's a       15      A. I mean --
  16      statement.                                           16      Q. Well, you offer no such opinion in your
  17   BY MR. McWILLIAMS:                                      17   expert report; is that correct?
  18      Q. Are you familiar with that?                       18      A. That's correct.
  19      A. Am I familiar with that? I'm not familiar         19      Q. Okay. I understand you -- in addition to the
  20   with that phrase. I'm familiar with that -- that        20   list of materials identified in your report, you also
  21   technique in -- in determining whether or not you can   21   reviewed Dr. -- I believe -- I wrote down, you
  22   see, you know, the side effects of a medication,        22   glanced at the Rinder report?
  23   whether or not it's associated with that, yes.          23      A. I did. I reviewed that.
  24      Q. Okay. And is it fair to say that Ms. Mingo        24      Q. And when did you do that?
  25   had at least those first two steps: She had no          25      A. I -- I did that December -- the end of


                                                                                 7 (Pages 22 to 25)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 8 of 12
        Protected - Subject to Further Protective Review
                                             Page 26                                                      Page 28
   1   December, beginning of January, sometime.               1   you any time review any internal documents in the
   2      Q. Okay. But you read it prior to forming your       2   possession of Bayer or Janssen relating to the topic
   3   opinions in this case?                                  3   of PT and its ability to assess the risk of bleeding
   4      A. No. I had my opinions formed, and then I          4   in a Xarelto-treated patient?
   5   read that report.                                       5      A. I have not.
   6      Q. Okay. And -- and what was your impression of      6      Q. Okay. Are you -- have you reviewed any of
   7   that report?                                            7   the FDA review documents on that same topic?
   8          MS. HOFFMANN: Objection.                         8      A. I have not.
   9   BY MR. McWILLIAMS:                                      9      Q. Have you done any independent research on
  10      Q. Tell me what you remember and what think         10   this topic, on the utility of PT to assess the risk
  11   about it.                                              11   of bleeding in the Xarelto-treated patient?
  12          MS. HOFFMANN: Objection.                        12      A. I have not.
  13          THE WITNESS: I -- I mean, that's a -- to --     13      Q. Okay. Okay. In addition, at the -- one of
  14      to summarize an eight-page report and what I        14   the your citations in your report is this article by
  15      thought in general, I think that there were         15   Sabir: Oral Anticoagulants for Asian Patients With
  16      accuracies there regarding Mrs. Mingo's clinical    16   Atrial Fibrillation. What was --
  17      course.                                             17      A. Yes.
  18          I think there were inaccuracies regarding       18      Q. How did that assist you in forming your
  19      aspirin not playing a pivotal role in what took     19   opinions in this case?
  20      place. I disagree with that.                        20      A. It -- it assisted me in finding a figure that
  21          There's another section, if I recall            21   helped define the sites of action of the medications
  22      correctly, where Dr. Rinder comments on the         22   that we're discussing.
  23      ability to dose-modify Xarelto based on a --        23      Q. Gotcha. Okay.
  24      a PT, and there's no evidence that suggests that    24      A. So it was -- it didn't do anything as far as
  25      there's any dose modification that should be        25   formulating opinion, but -- but I reviewed it, and I


                                             Page 27                                                      Page 29
   1      administered for Xarelto based on PT.                1   think it gave a good rundown of -- of, you know, some
   2         And other than that, probably other small         2   of the medications presently used and how they work.
   3      things throughout the report that -- that I would    3      Q. So I understand you -- you -- strike that.
   4      disagree with but probably aren't -- aren't          4           I understand that the drug label is an
   5      pertinent to what we're discussing.                  5   important piece of information to you?
   6   BY MR. McWILLIAMS:                                      6      A. Correct.
   7      Q. So you -- you disagree with Dr. Rinder's          7      Q. And do you believe that the Xarelto drug
   8   opinion that you can use PT to dose-modify. Did I       8   label is scientifically accurate?
   9   hear you correctly?                                     9           MS. HOFFMANN: Objection; form.
  10      A. That's correct.                                  10           THE WITNESS: I have no reason to believe
  11      Q. Okay. And what did you do to investigate         11      it's not scientifically accurate.
  12   that topic, whether or not it's appropriate or not?    12   BY MR. McWILLIAMS:
  13      A. I mean, I think you can review the package       13      Q. Well, you understand the Xarelto label says
  14   insert. There's no suggestion for dose modification    14   Xarelto causes bleeding; right?
  15   based on anything within the package insert. The --    15      A. Right.
  16   the Chest guidelines, which we use to determine        16      Q. Okay. Is that a scientifically accurate
  17   standards of care for treatment for DVTs and           17   statement?
  18   pulmonary embolism, there's no recommendation for      18      A. Yes.
  19   dose modification anywhere within Chest guidelines.    19      Q. Okay.
  20   And that's -- and that's both Chest guidelines from    20      A. Sorry.
  21   2012 and from 2016.                                    21      Q. No, otherwise, if I take that, the court
  22      Q. Anything else?                                   22   reporter, she'll track me down and do terrible things
  23      A. No.                                              23   to me.
  24      Q. Is that a no? Okay.                              24           MR. McWILLIAMS: I think that's all I've got.
  25         Were you offered or did you request or did       25      Let's just take a quick break and let me just


                                                                               8 (Pages 26 to 29)
              Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 9 of 12
         Protected - Subject to Further Protective Review
                                              Page 30                                                      Page 32
   1      confirm; all right?                                   1      effect, if not additional potentiation through
   2          THE VIDEOGRAPHER: The time now is 9:11 a.m.       2      the mechanism that I discussed earlier.
   3      We're off the record.                                 3   BY MR. McWILLIAMS:
   4         (A recess was taken from 9:11 until 9:13 a.m.)     4      Q. Okay. But I just want to make sure: Is
   5          THE VIDEOGRAPHER: The time now is 9:13 a.m.       5   there any other basis for your opinion that there's a
   6      We are back on the record.                            6   synergistic affect --
   7   BY MR. McWILLIAMS:                                       7      A. That's based on -- based on what we see
   8      Q. Doctor, I'm going to hand you what's being         8   clinically.
   9   marked as Persing Exhibit 3, and it's a copy of the      9         MS. HOFFMANN: Objection to form.
  10   label. And I apologize, it's coming apart.              10         THE WITNESS: Sorry.
  11          (Persing Exhibit No. 3 was marked for            11         That's what we see from a clinical standpoint
  12   identification.)                                        12      and people receiving dual anticoagulation.
  13   BY MR. McWILLIAMS:                                      13   BY MR. McWILLIAMS:
  14      Q. And if you'd pass this to counsel, it would       14      Q. And what -- what clinically do you see?
  15   be great.                                               15   What --
  16          Would you be so kind as to identify for us       16      A. We see an increased risk of -- of sites of
  17   the section of label that you -- I believe your         17   bleeding, bleeding more.
  18   testimony was that it alludes to the synergism          18      Q. Okay. How but do you distinguish between
  19   between aspirin and Xarelto with respect to risk of     19   additive and synergism?
  20   bleeding?                                               20      A. The only way to do that would to be -- would
  21          MS. HOFFMANN: Objection to form; misstates       21   be to proceed with a trial that assesses that
  22      his testimony.                                       22   information.
  23          THE WITNESS: Yeah, I actually didn't say         23      Q. And, again, you haven't researched the trials
  24      "synergism." I believe I said "potentiates."         24   that have been done to determine whether or not
  25          So if we -- if we look at 5 -- 5.2:              25   there's an answer to that question; correct?


                                              Page 31                                                      Page 33
   1      Concomitant use of other drugs that impair            1      A. I mean, I've reviewed the -- the EINSTEIN
   2      hemostasis increases the risk of bleeding. These      2   trial, yes. But I mean, not, you know -- and I would
   3      include aspirin, P2Y12 platelet inhibitors, other     3   have to have the EINSTEIN trial in front of me to
   4      antithrombotic agents, fibrinolytic therapy,          4   look specifically at their -- at the -- if there was
   5      non-steroidal anti-inflammatories --                  5   analysis looking specifically at aspirin
   6         MS. HOFFMANN: Slow down.                           6   administration there.
   7         THE WITNESS: Sorry.                                7      Q. And that reminds me, in your report you talk
   8         -- selective serotonin reuptake inhibitors,        8   about the EINSTEIN trial, saying that -- and then
   9      and serotonin norepinephrine reuptake inhibitors.     9   you -- you discussed the data on the EINSTEIN.
  10   BY MR. McWILLIAMS:                                      10      A. Right.
  11      Q. Okay. And that's the basis for your opinion       11      Q. Let's see, it was on page --
  12   that there's a synergistic affect between Xarelto use   12      A. I think --
  13   and aspirin with respect to risk of bleeding?           13      Q. -- Page 11?
  14         MS. HOFFMANN: Objection.                          14      A. -- 11 or 12, uh-huh.
  15         THE WITNESS: I think when it states that          15      Q. You say: Based on the EINSTEIN trial
  16      there's -- other drugs may impair hemostasis and     16   comparing Xarelto to Lovenox and Coumadin, there was
  17      increases the risk of bleeding, that would           17   a one percent risk in bleed with Xarelto that was
  18      suggest that.                                        18   severe or life-threatening, and a 1.7 percent risk of
  19   BY MR. McWILLIAMS:                                      19   bleed that was severe or life-threatening in the
  20      Q. That suggests synergism to you, as opposed to     20   Lovenox and Coumadin arm of the trial. This
  21   additive?                                               21   correlated with a risk reduction of 46 percent
  22         MS. WAY: Object to the form.                      22   favoring administration of Xarelto over Lovenox and
  23         THE WITNESS: The understanding that these         23   Coumadin.
  24      other drugs cause that to begin with, we would       24          Did I read that correctly?
  25      understand that there is, at minimum, an additive    25      A. That's correct.


                                                                                 9 (Pages 30 to 33)
               Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 10 of 12
         Protected - Subject to Further Protective Review
                                               Page 34                                                      Page 36
    1      Q. And just to be clear, Mrs. -- Ms. Mingo            1       Q. And because you -- your -- the population you
    2   received Xarelto for treatment of DVT; correct?          2   see is not representative of the whole population,
    3      A. That's correct.                                    3   it's hard for you to really distinguish?
    4      Q. She did not receive it for treatment of a          4       A. I can't -- I can't comment on the number of
    5   pulmonary embolism; correct?                             5   people with gastric ulcers that don't require
    6      A. Correct.                                           6   transfusion. I think that's a difficult -- a GI
    7      Q. And this data you cite is the pool data of         7   doctor may have a better idea, who that is.
    8   the DVT and pulmonary embolism; correct?                 8          I think the other issue would be there are
    9      A. That's correct.                                    9   lots of people that may be asymptomatic from gastric
   10      Q. But if you were to look at just the DVT data      10   ulcers that they have for quite some time; they never
   11   for the EINSTEIN DVT study, there was no such           11   have bleeding, never require transfusion, and are
   12   difference with respect to bleeders; correct?           12   seen and we never know they had a gastric ulcer.
   13      A. Those -- those two were identical in their        13   It's the ones that bleed that tend to come to our
   14   risk.                                                   14   attention because they have anemia underlying that
   15      Q. Okay.                                             15   prompts an evaluation.
   16      A. Correct.                                          16          So I -- I think it's -- you're -- the --
   17      Q. So there was no -- in the -- in the study         17   the -- the -- the -- the definition, it would have to
   18   that looked at the type of condition and the            18   be a -- and I don't know this literature, this would
   19   treatment that Ms. Mingo received, there was no         19   be the GI doctors -- it would be evaluating a -- a --
   20   difference in bleed risk; correct?                      20   a asystematic population for the number that have
   21      A. I think that's accurate, yes.                     21   gastric ulcers.
   22      Q. Okay. Now, one other thing, would you --          22          We -- I don't know -- you know, I'm not aware
   23   how -- is it common for people with ulcers to require   23   of any literature. There's no literature that I've
   24   transfusions?                                           24   reviewed that looks at that, but that would be GI
   25      A. I mean, that's a difficult --                     25   literature.


                                               Page 35                                                      Page 37
    1      Q. Let me -- let me rephrase the question.            1      Q. But would you agree with me it would be very
    2          Is it common in patients with ulcers that are     2   rare for someone like -- well, let's talk about
    3   not exposed to an oral anticoagulant to require a        3   Ms. Mingo, the type of GI bleed she experienced that
    4   transfusion?                                             4   required, I think it was three nights in intensive
    5      A. I don't know the answer to that, because I --      5   care unit, five units for transfusion -- what are you
    6   I don't see enough patients that don't have that. I      6   shaking your head for?
    7   have a selection bias in that the people I see have      7      A. No, four --
    8   had a gastric ulcer that's bled. Whether that's          8      Q. Four?
    9   related to anticoagulation or non-anticoagulation, if    9      A. I think it's four units of blood cells, a
   10   I'm involved, that's a result of -- of bleeding.        10   couple units of fresh frozen plasma.
   11          So I -- I can't comment, because I don't see     11      Q. I thought it was -- I thought it was three
   12   enough patients with gastric ulcers that haven't bled   12   packed red blood cells and the two fresh frozen
   13   to say most don't or most so. That's a difficult --     13   plasma.
   14      Q. Explain that to me, selection bias. I think       14      A. I think --
   15   I know what you mean, but just help me for further      15      Q. I could be wrong.
   16   understand.                                             16         MS. HOFFMANN: Let's -- let's get a question.
   17      A. So typically when I become involved in a case     17      That's all right.
   18   where somebody has had bleeding, regardless of where    18   BY MR. McWILLIAMS:
   19   that's from, it's because the bleeding has been         19      Q. Okay. Just kidding. I stand corrected.
   20   significant enough that they want to include a          20   Lara told me --
   21   hematologist in -- in the patient's care and -- and     21         MS. HOFFMANN: So start your question over
   22   consider, you know, whether it was related to           22      again.
   23   medications, whether those be anticoagulants or even    23   BY MR. McWILLIAMS:
   24   other medications that can -- can increase that risk.   24      Q. So that type of bleed -- the type of bleed
   25   So that selection bias is the population that I see.    25   experienced by Ms. Mingo --


                                                                               10 (Pages 34 to 37)
                Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 11 of 12
           Protected - Subject to Further Protective Review
                                                          Page 38                                                    Page 40
    1     A. Right.                                                  1               INSTRUCTIONS TO WITNESS
    2     Q. -- that required hospitalization, intensive             2
    3   care unit, four transfusions, would you agree with me        3
    4   that would be atypical for someone with a bleeding           4           Please read your deposition over carefully
    5   ulcer not exposed to an oral anticoagulant?                  5     and make any necessary corrections. You should state
    6         MS. WAY: Objection to form.                            6     the reason in the appropriate space on the errata
    7         MS. HOFFMANN: Objection to form.                       7     sheet for any corrections that are made.
    8         THE WITNESS: If -- if they have a -- if they           8
    9     have an ulcer involving an artery -- I've seen             9          After doing so, please sign the errata sheet
   10     people on no anticoagulants bleed as much as she          10     and date it. It will be attached to your deposition.
   11     bled.                                                     11
   12         MR. McWILLIAMS: Okay. All right. Is that              12           It is imperative that you return the original
   13     everything?                                               13     errata sheet to the deposing attorney within thirty
   14         All right. That's all I've got. I                     14     (30) days of receipt of the deposition transcript by
   15     appreciate your time today.                               15     you. If you fail to do so, the deposition transcript
   16         THE WITNESS: Thank you.                               16     may be deemed to be accurate and may be used in
   17         MR. McWILLIAMS: That's all the questions I            17     court.
   18     have.                                                     18
   19         THE VIDEOGRAPHER: Ms. Hoffmann, do you have           19
   20     any questions?                                            20
   21         The time now is 9:21 a.m. Today's deposition          21
   22     of Dr. Brian Persing consisting of one disc is            22
   23     now concluded.                                            23
   24         (Whereupon, the deposition concluded at               24
   25   9:21 a.m.)                                                  25


                                                          Page 39                                                    Page 41
    1                CERTIFICATE                                     1               ------
    2                                                                2               ERRATA
    3         I, KELLY J. LAWTON, Registered Professional            3               ------
    4   Reporter, Licensed Court Reporter, and Certified             4   PAGE LINE CHANGE
    5   Court Reporter, do hereby certify that, pursuant to          5   ____ ____ _________________________________________
    6   notice, the deposition of BRIAN E. PERSING, M.D. was         6   REASON: _____________________________________________
    7   duly taken on February 9, 2017, at 8:48 a.m. before          7   ____ ____ _________________________________________
    8   me.                                                          8   REASON: _____________________________________________
    9         The said BRIAN PERSING, M.D. was duly sworn            9   ____ ____ _________________________________________
   10   by me according to law to tell the truth, the whole         10   REASON: _____________________________________________
   11   truth and nothing but the truth and thereupon did           11   ____ ____ _________________________________________
   12   testify as set forth in the above transcript of             12   REASON: _____________________________________________
   13   testimony. The testimony was taken down                     13   ____ ____ _________________________________________
   14   stenographically by me. I do further certify that           14   REASON: _____________________________________________
   15   the above deposition is full, complete, and a true          15   ____ ____ _________________________________________
   16   record of all the testimony given by the said               16   REASON: _____________________________________________
   17   witness.                                                    17   ____ ____ _________________________________________
   18                                                               18   REASON: _____________________________________________
   19         _____________________________________________         19   ____ ____ _________________________________________
   20         KELLY J. LAWTON, RMR, CRR, FPR                        20   REASON: _____________________________________________
   21                                                               21   ____ ____ _________________________________________
   22         (The foregoing certification of this                  22   REASON: _____________________________________________
   23   transcript does not apply to any reproduction of the        23   ____ ____ _________________________________________
   24   same by any means, unless under the direct control          24   REASON: _____________________________________________
   25   and/or supervision of the certifying reporter.)             25



                                                                                      11 (Pages 38 to 41)
                     Golkow Technologies, Inc. - 1.877.370.DEPS
Case 2:14-md-02592-EEF-MBN Document 5517-14 Filed 02/24/17 Page 12 of 12
           Protected - Subject to Further Protective Review
                                                           Page 42
    1            ACKNOWLEDGMENT OF DEPONENT
    2
    3        I, BRIAN PERSING, M.D., do hereby acknowledge
    4   that I have read the foregoing pages, 1 to 38, and
    5   that the same is a correct transcription of the
    6   answers given by me to the questions therein
    7   propounded, except for the corrections or changes in
    8   form or substance, if any, noted in the attached
    9   Errata Sheet.
   10
   11
   12   ________________________________              ________________
   13   BRIAN E. PERSING, M.D.                            DATE
   14
   15
   16
   17
   18   Subscribed and sworn to before me this
   19   ____ day of ______________, 20___.
   20   My Commission expires: _________________
   21
   22   ________________________________________
        Notary Public
   23
   24
   25


                                                           Page 43
    1                   LAWYER'S NOTES
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                                                                         12 (Pages 42 to 43)
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